               Case
     Fill in this       9:24-bk-10035-RC
                  information to identify your case:   Doc 1 Filed 01/12/24 Entered 01/12/24 09:59:51                                   Desc
                                                       Main Document Page 1 of 45
     United States Bankruptcy Court for the:

     ____________________
     Central               District of _________________
             District of California    (State)
     Case number (If known): _________________________ Chapter you are filing under:
                                                       
                                                       ✔ Chapter 7
                                                             Chapter 11
                                                             Chapter 12                                                                 Check if this is an
                                                             Chapter 13                                                                    amended filing




Official Form 201
V olunt a ry Pe t it ion for N on-I ndividua ls Filing for Ba nk rupt c y                                                                            06/22

If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor’s name and the case
number (if known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.



1.    Debtor’s name                         Broad  Oak Retail, Inc.
                                            ______________________________________________________________________________________________________




2.    All other names debtor used           ______________________________________________________________________________________________________
      in the last 8 years                   ______________________________________________________________________________________________________
                                            ______________________________________________________________________________________________________
      Include any assumed names,
                                            ______________________________________________________________________________________________________
      trade names, and doing business
      as names                              ______________________________________________________________________________________________________




3.    Debtor’s federal Employer             XX-XXXXXXX
                                            ______________________________________
      Identification Number (EIN)



4.    Debtor’s address                      Principal place of business                                 Mailing address, if different from principal place
                                                                                                        of business
                                               1320 Flynn Road # 302                                    _______________________________________________
                                            ______________________________________________
                                            Number     Street                                           Number     Street

                                            ______________________________________________              _______________________________________________
                                                                                                        P.O. Box

                                               Camarillo                   CA      93012
                                            ______________________________________________              _______________________________________________
                                            City                        State    ZIP Code               City                      State      ZIP Code

                                                                                                        Location of principal assets, if different from
                                                                                                        principal place of business
                                               Ventura County
                                            ______________________________________________
                                            County                                                      _______________________________________________
                                                                                                        Number     Street

                                                                                                        _______________________________________________

                                                                                                        _______________________________________________
                                                                                                        City                      State      ZIP Code




5.    Debtor’s website (URL)                ____________________________________________________________________________________________________


6.    Type of debtor                        
                                            ✔ Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))

                                             Partnership (excluding LLP)
                                             Other. Specify: __________________________________________________________________


Official Form 201                                 Voluntary Petition for Non-Individuals Filing for Bankruptcy                             page 1
              Case 9:24-bk-10035-RC                Doc 1 Filed 01/12/24 Entered 01/12/24 09:59:51                                     Desc
                                                   Main Document Page 2 of 45
                Broad Oak Retail, Inc.
Debtor          _______________________________________________________                       Case number (if known)_____________________________________
                Name


                                         A. Check one:
7.    Describe debtor’s business
                                          Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                          Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                          Railroad (as defined in 11 U.S.C. § 101(44))
                                          Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                          Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                          Clearing Bank (as defined in 11 U.S.C. § 781(3))
                                         
                                         ✔ None of the above



                                         B. Check all that apply:
                                          Tax-exempt entity (as described in 26 U.S.C. § 501)
                                          Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C.
                                            § 80a-3)
                                          Investment advisor (as defined in 15 U.S.C. § 80b-2(a)(11))
                                         C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor.
                                            See http://www.naics.com/search/ .
                                            325320
                                            _________

8.    Under which chapter of the         Check one:
      Bankruptcy Code is the             
                                         ✔ Chapter 7
      debtor filing?
                                          Chapter 9
                                          Chapter 11. Check all that apply:
                                                        The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its
                                                              aggregate noncontingent liquidated debts (excluding debts owed to insiders or affiliates)
                                                              are less than $3,024,725. If this sub-box is selected, attach the most
       A debtor who is a “small business                      recent balance sheet, statement of operations, cash-flow statement, and federal income
       debtor” must check the first sub-                      tax return or if any of these documents do not exist, follow the procedure in
                                                              11 U.S.C. § 1116(1)(B).
       box. A debtor as defined in
       § 1182(1) who elects to proceed                     The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate
       under subchapter V of chapter 11                       noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are
                                                              less than $7,500,000, and it chooses to proceed under Subchapter V of
       (whether or not the debtor is a                        Chapter 11. If this sub-box is selected, attach the most recent balance sheet, statement
       “small business debtor”) must                          of operations, cash-flow statement, and federal income tax return, or if
       check the second sub-box.                              any of these documents do not exist, follow the procedure in 11 U.S.C.
                                                              § 1116(1)(B).

                                                           A plan is being filed with this petition.
                                                           Acceptances of the plan were solicited prepetition from one or more classes of creditors,
                                                              in accordance with 11 U.S.C. § 1126(b).

                                                           The debtor is required to file periodic reports (for example, 10K and 10Q) with the
                                                              Securities and Exchange Commission according to § 13 or 15(d) of the Securities
                                                              Exchange Act of 1934. File the Attachment to Voluntary Petition for Non-Individuals Filing
                                                              for Bankruptcy under Chapter 11 (Official Form 201A) with this form.

                                                           The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule
                                                              12b-2.
                                          Chapter 12
9.    Were prior bankruptcy cases         No
      filed by or against the debtor
      within the last 8 years?            Yes. District _______________________ When _______________ Case number _________________________
                                                                                              MM / DD / YYYY
      If more than 2 cases, attach a
      separate list.                               District _______________________ When _______________ Case number _________________________
                                                                                         MM / DD / YYYY

10. Are any bankruptcy cases              No
      pending or being filed by a
      business partner or an              Yes. Debtor _____________________________________________ Relationship _________________________
      affiliate of the debtor?                     District _____________________________________________ When              __________________
      List all cases. If more than 1,                                                                                       MM / DD / YYYY
      attach a separate list.                      Case number, if known ________________________________

     Official Form 201                        Voluntary Petition for Non-Individuals Filing for Bankruptcy                               page 2
          Case 9:24-bk-10035-RC                      Doc 1 Filed 01/12/24 Entered 01/12/24 09:59:51                                      Desc
                                                     Main Document Page 3 of 45
               Broad Oak Retail, Inc.
Debtor         _______________________________________________________                         Case number (if known)_____________________________________
               Name




11. Why is the case filed in this         Check all that apply:
   district?
                                           Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days
                                           ✔

                                               immediately preceding the date of this petition or for a longer part of such 180 days than in any other
                                               district.

                                           A bankruptcy case concerning debtor’s affiliate, general partner, or partnership is pending in this district.

12. Does the debtor own or have           
                                          ✔ No
   possession of any real                  Yes. Answer below for each property that needs immediate attention. Attach additional sheets if needed.
   property or personal property
   that needs immediate                             Why does the property need immediate attention? (Check all that apply.)
   attention?
                                                     It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                        What is the hazard? _____________________________________________________________________

                                                     It needs to be physically secured or protected from the weather.
                                                     It includes perishable goods or assets that could quickly deteriorate or lose value without
                                                        attention (for example, livestock, seasonal goods, meat, dairy, produce, or securities-related
                                                        assets or other options).

                                                     Other _______________________________________________________________________________


                                                    Where is the property?_____________________________________________________________________
                                                                              Number         Street

                                                                              ____________________________________________________________________

                                                                              _______________________________________        _______     ________________
                                                                              City                                           State       ZIP Code


                                                    Is the property insured?
                                                     No
                                                     Yes. Insurance agency ____________________________________________________________________
                                                             Contact name     ____________________________________________________________________

                                                             Phone            ________________________________




          St a t ist ic a l a nd a dm inist ra t ive informa t ion



13. Debtor’s estimation of                Check one:
   available funds                         Funds will be available for distribution to unsecured creditors.
                                           After any administrative expenses are paid, no funds will be available for distribution to unsecured creditors.
                                           ✔




                                           1-49
                                           ✔
                                                                             1,000-5,000                             25,001-50,000
14. Estimated number of
                                           50-99                            5,001-10,000                            50,001-100,000
   creditors
                                           100-199                          10,001-25,000                           More than 100,000
                                           200-999

                                           $0-$50,000                       $1,000,001-$10 million                  $500,000,001-$1 billion
15. Estimated assets
                                           $50,001-$100,000                 $10,000,001-$50 million                 $1,000,000,001-$10 billion
                                           $100,001-$500,000
                                           ✔
                                                                             $50,000,001-$100 million                $10,000,000,001-$50 billion
                                           $500,001-$1 million              $100,000,001-$500 million               More than $50 billion



 Official Form 201                              Voluntary Petition for Non-Individuals Filing for Bankruptcy                               page 3
Case 9:24-bk-10035-RC   Doc 1 Filed 01/12/24 Entered 01/12/24 09:59:51   Desc
                        Main Document Page 4 of 45
                 Case 9:24-bk-10035-RC                                          Doc 1 Filed 01/12/24 Entered 01/12/24 09:59:51                                                                          Desc
                                                                                Main Document Page 5 of 45

 Fill in this information to identify the case:

                Broad Oak Retail, Inc.
  Debtor name _________________________________________________________________

                                          Central District of California
  United States Bankruptcy Court for the:_______________________ District of ________
                                                                                                                     (State)
  Case number (If known):              _________________________


                                                                                                                                                                                                      Check if this is an
                                                                                                                                                                                                         amended filing



Official Form 206Sum
Sum m a ry of Asse t s a nd Lia bilit ie s for N on-I ndividua ls                                                                                                                                                  12/15




Pa rt 1 :        Sum m a ry of Asse t s


1. Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)

     1a. Real property:
                                                                                                                                                                                                                   0.00
                                                                                                                                                                                                   $ __________________
           Copy line 88 from Schedule A/B ..........................................................................................................................................

     1b. Total personal property:                                                                                                                                                                         430,500.00
                                                                                                                                                                                                    $ __________________
           Copy line 91A from Schedule A/B ........................................................................................................................................

     1c. Total of all property:                                                                                                                                                                           430,500.00
                                                                                                                                                                                                    $ __________________
           Copy line 92 from Schedule A/B ..........................................................................................................................................




Pa rt 2 :        Sum m a ry of Lia bilit ie s




2. Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
                                                                                                                                                                                                        1,528,624.14
                                                                                                                                                                                                    $ __________________
     Copy the total dollar amount listed in Column A, Amount of claim, from line 3 of Schedule D ................................................

3. Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)


     3a. Total claim amounts of priority unsecured claims:
                                                                                                                                                                                                           13,000.00
                                                                                                                                                                                                    $ __________________
           Copy the total claims from Part 1 from line 6a of Schedule E/F .........................................................................................

     3b. Total amount of claims of nonpriority amount of unsecured claims:
           Copy the total of the amount of claims from Part 2 from line 6b of Schedule E/F .............................................................                                           +$ __________________
                                                                                                                                                                                                          209,595.46



4. Total liabilities ...........................................................................................................................................................................        1,751,219.60
                                                                                                                                                                                                    $ __________________
     Lines 2 + 3a + 3b




  Official Form 206Sum                                        Summary of Assets and Liabilities for Non-Individuals                                                                                       page 1
         Case 9:24-bk-10035-RC          Doc 1 Filed 01/12/24 Entered 01/12/24 09:59:51                Desc
                                        Main Document Page 6 of 45
                                          United States Bankruptcy Court
IN RE:                                                               Case No.__________________
Broad Oak Retail, Inc.                                                          7
__________________________________________________________ Chapter __________________

                                  LIST OF EQUITY SECURITY HOLDERS


 Registered name and last known address of security holder    Shares                Security Class
                                                              (Or Percentage)       (or kind of interest)

 Adam Denton-Smith                                           15                     Common stockholder
 1320 Flynn Road # 302, Camarillo, CA 93012




 Karol Laurie Caballero                                      85                     Common stockholder
 1320 Flynn Road # 302, Camarillo, CA 93012
             Case 9:24-bk-10035-RC                     Doc 1 Filed 01/12/24 Entered 01/12/24 09:59:51                                  Desc
                                                       Main Document Page 7 of 45
  Fill in this information to identify the case:

               Broad Oak Retail, Inc.
  Debtor name __________________________________________________________________


  United States Bankruptcy Court for the:_______________________________
                                          Central District of California
  Case number (If known):     _________________________                                                                              Check if this is an
                                                                                                                                        amended filing


Official Form 206A/B
Sche dule A/B: Asse t s — Re a l a nd Pe rsona l Prope r t y                                                                                      12/15

Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest. Include
all property in which the debtor holds rights and powers exercisable for the debtor's own benefit. Also include assets and properties which have
no book value, such as fully depreciated assets or assets that were not capitalized. In Schedule A/B, list any executory contracts or unexpired
leases. Also list them on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G).
Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any pages added, write
the debtor’s name and case number (if known). Also identify the form and line number to which the additional information applies. If an
additional sheet is attached, include the amounts from the attachment in the total for the pertinent part.

For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a fixed asset
schedule or depreciation schedule, that gives the details for each asset in a particular category. List each asset only once. In valuing the
debtor’s interest, do not deduct the value of secured claims. See the instructions to understand the terms used in this form.


Pa rt 1 :   Ca sh a nd c a sh e quiva le nt s

1. Does the debtor have any cash or cash equivalents?

    No. Go to Part 2.
    Yes. Fill in the information below.
    ✔




     All cash or cash equivalents owned or controlled by the debtor                                                               Current value of debtor’s
                                                                                                                                  interest

2. Cash on hand                                                                                                                    0.00
                                                                                                                                 $______________________

3. Checking, savings, money market, or financial brokerage accounts (Identify all)

    Name of institution (bank or brokerage firm)               Type of account                 Last 4 digits of account number
          Bank of America (3x Accounts)
    3.1. _________________________________________________  Checking
                                                           ______________________              3
                                                                                               ____  5
                                                                                                    ____ 8
                                                                                                         ____ 3
                                                                                                              ____               $______________________
                                                                                                                                   500.00
          Amazon Reserved Balances
    3.2. _________________________________________________  Brokerage
                                                           ______________________              0
                                                                                               ____  0
                                                                                                    ____ 0
                                                                                                         ____ 1
                                                                                                              ____                 318,000.00
                                                                                                                                 $______________________


4. Other cash equivalents (Identify all)
    4.1. _____________________________________________________________________________________________________                   $______________________
    4.2. _____________________________________________________________________________________________________                   $______________________

5. Total of Part 1                                                                                                                 318,500.00
                                                                                                                                 $______________________
   Add lines 2 through 4 (including amounts on any additional sheets). Copy the total to line 80.



Pa rt 2 :   De posit s a nd pre pa ym e nt s

6. Does the debtor have any deposits or prepayments?

    No. Go to Part 3.
    ✔


    Yes. Fill in the information below.
                                                                                                                                   Current value of
                                                                                                                                   debtor’s interest
7. Deposits, including security deposits and utility deposits

    Description, including name of holder of deposit

    7.1. ________________________________________________________________________________________________________                 $______________________
    7.2._________________________________________________________________________________________________________                 $_______________________


   Official Form 206A/B                                   Schedule A/B: Assets  Real and Personal Property                                   page 1
                Case 9:24-bk-10035-RC                     Doc 1 Filed 01/12/24 Entered 01/12/24 09:59:51 Desc
Debtor            Broad Oak Retail, Inc.                  Main Document Page 8 of
                 _______________________________________________________           45
                                                                                Case number (if known)_____________________________________
                 Name




8. Prepayments, including prepayments on executory contracts, leases, insurance, taxes, and rent
    Description, including name of holder of prepayment

    8.1.___________________________________________________________________________________________________________                $______________________
    8.2.___________________________________________________________________________________________________________                $_______________________

9. Total of Part 2.
                                                                                                                                  $______________________
   Add lines 7 through 8. Copy the total to line 81.



Pa rt 3 :   Ac c ount s re c e iva ble

10. Does the debtor have any accounts receivable?

      No. Go to Part 4.
      ✔


      Yes. Fill in the information below.
                                                                                                                                   Current value of debtor’s
                                                                                                                                   interest
11. Accounts receivable

     11a. 90 days old or less:    ____________________________ – ___________________________          = ........                 $______________________
                                   face amount                   doubtful or uncollectible accounts

     11b. Over 90 days old:        ___________________________ – ___________________________          = ........                 $______________________
                                    face amount                  doubtful or uncollectible accounts


12. Total of Part 3
                                                                                                                                  $______________________
     Current value on lines 11a + 11b = line 12. Copy the total to line 82.


Pa rt 4 :   I nve st me nt s

13. Does the debtor own any investments?
      No. Go to Part 5.
      ✔


      Yes. Fill in the information below.
                                                                                                         Valuation method          Current value of debtor’s
                                                                                                         used for current value    interest

14. Mutual funds or publicly traded stocks not included in Part 1
    Name of fund or stock:
    14.1. ________________________________________________________________________________               _____________________    $________________________
    14.2. ________________________________________________________________________________               _____________________    $________________________



15. Non-publicly traded stock and interests in incorporated and unincorporated businesses,
    including any interest in an LLC, partnership, or joint venture

    Name of entity:                                                                 % of ownership:
    15.1._______________________________________________________________            ________%            _____________________    $________________________
    15.2._______________________________________________________________            ________%            _____________________    $________________________

16. Government bonds, corporate bonds, and other negotiable and non-negotiable
    instruments not included in Part 1
    Describe:

    16.1.________________________________________________________________________________                ______________________   $_______________________
    16.2.________________________________________________________________________________                ______________________   $_______________________



17. Total of Part 4
                                                                                                                                  $______________________
     Add lines 14 through 16. Copy the total to line 83.



Official Form 206A/B                                          Schedule A/B: Assets  Real and Personal Property                                page 2
             Case 9:24-bk-10035-RC                     Doc 1 Filed 01/12/24 Entered 01/12/24 09:59:51 Desc
                Broad Oak Retail, Inc.
Debtor                                                 Main Document Page 9 of
               _______________________________________________________          45
                                                                             Case number (if known)_____________________________________
               Name




Pa rt 5 :   I nve ntory, e x c luding a gric ult ure a sse t s

18. Does the debtor own any inventory (excluding agriculture assets)?
      No. Go to Part 6.
      Yes. Fill in the information below.
      ✔




      General description                             Date of the last         Net book value of        Valuation method used      Current value of
                                                      physical inventory       debtor's interest        for current value          debtor’s interest
                                                                               (Where available)
19. Raw materials
    ________________________________________                ______________                                                        $______________________
                                                            MM / DD / YYYY
                                                                               $__________________       ______________________

20. Work in progress
    ________________________________________                ______________                                                        $______________________
                                                            MM / DD / YYYY
                                                                               $__________________       ______________________

21. Finished goods, including goods held for resale
                                                                                 112,000.00               Owner                     112,000.00
  Pest Control Goods (Amazon Fulfillment Center)     12/31/2023
                                                    ______________
    ________________________________________                                   $__________________       ______________________   $______________________
                                                            MM / DD / YYYY

22. Other inventory or supplies
    ________________________________________                ______________                                                        $______________________
                                                            MM / DD / YYYY
                                                                               $__________________       ______________________


23. Total of Part 5                                                                                                                 112,000.00
                                                                                                                                  $______________________
     Add lines 19 through 22. Copy the total to line 84.

24. Is any of the property listed in Part 5 perishable?
     
     ✔ No
      Yes
25. Has any of the property listed in Part 5 been purchased within 20 days before the bankruptcy was filed?

      No
                                                                   Owner                             58,000.00
      Yes. Book value _______________
      ✔                 58,000.00
                                                   Valuation method____________________ Current value______________
26. Has any of the property listed in Part 5 been appraised by a professional within the last year?
     
     ✔ No
      Yes
Pa rt 6 :   Fa rm ing a nd fishing-re la t e d a sse t s (othe r t ha n t it le d m ot or ve hic le s a nd la nd)

27. Does the debtor own or lease any farming and fishing-related assets (other than titled motor vehicles and land)?
      No. Go to Part 7.
      ✔



      Yes. Fill in the information below.
      General description                                                       Net book value of       Valuation method used      Current value of debtor’s
                                                                                debtor's interest       for current value          interest
                                                                                (Where available)
28. Crops—either planted or harvested
    ______________________________________________________________               $________________        ____________________    $______________________

29. Farm animals Examples: Livestock, poultry, farm-raised fish

    ______________________________________________________________               $________________        ____________________    $______________________

30. Farm machinery and equipment (Other than titled motor vehicles)

    ______________________________________________________________               $________________        ____________________    $______________________

31. Farm and fishing supplies, chemicals, and feed

    ______________________________________________________________               $________________        ____________________    $______________________

32. Other farming and fishing-related property not already listed in Part 6
    ______________________________________________________________               $________________        ____________________    $______________________


Official Form 206A/B                                         Schedule A/B: Assets  Real and Personal Property                                 page 3
            Case 9:24-bk-10035-RC                      Doc 1 Filed 01/12/24 Entered 01/12/24 09:59:51 Desc
Debtor
                Broad Oak Retail, Inc.                 Main Document Page 10 Case
               _______________________________________________________        of 45
                                                                                  number (if known)_____________________________________
               Name




33. Total of Part 6.
                                                                                                                               $______________________
     Add lines 28 through 32. Copy the total to line 85.

34. Is the debtor a member of an agricultural cooperative?

      No
      Yes. Is any of the debtor’s property stored at the cooperative?
        No
        Yes
35. Has any of the property listed in Part 6 been purchased within 20 days before the bankruptcy was filed?

      No
      Yes. Book value $_______________ Valuation method ____________________ Current value $________________
36. Is a depreciation schedule available for any of the property listed in Part 6?

      No
      Yes
37. Has any of the property listed in Part 6 been appraised by a professional within the last year?

      No
      Yes

Pa rt 7 :   Offic e furnit ure , fix t ure s, a nd e quipm e nt ; a nd c olle c t ible s

38. Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?

      No. Go to Part 8.
      ✔


      Yes. Fill in the information below.

    General description                                                          Net book value of    Valuation method          Current value of debtor’s
                                                                                 debtor's interest    used for current value    interest
                                                                                 (Where available)
39. Office furniture

                                                                                  $________________   ____________________     $______________________
40. Office fixtures

                                                                                  $________________   ____________________     $______________________
41. Office equipment, including all computer equipment and
   communication systems equipment and software
                                                                                  $________________   ____________________     $______________________


42. Collectibles Examples: Antiques and figurines; paintings, prints, or other
   artwork; books, pictures, or other art objects; china and crystal; stamp, coin,
   or baseball card collections; other collections, memorabilia, or collectibles

    42.1___________________________________________________________               $________________    ____________________    $______________________
    42.2___________________________________________________________               $________________    ____________________    $______________________
    42.3___________________________________________________________               $________________    ____________________    $______________________
43. Total of Part 7.
    Add lines 39 through 42. Copy the total to line 86.                                                                        $______________________

44. Is a depreciation schedule available for any of the property listed in Part 7?

      No
      Yes
45. Has any of the property listed in Part 7 been appraised by a professional within the last year?
      No
      Yes
Official Form 206A/B                                          Schedule A/B: Assets  Real and Personal Property                             page 4
            Case 9:24-bk-10035-RC                     Doc 1 Filed 01/12/24 Entered 01/12/24 09:59:51 Desc
                Broad Oak Retail, Inc.
 Debtor                                               Main Document Page 11 Case
               _______________________________________________________       of 45
                                                                                 number (if known)_____________________________________
               Name




Pa rt 8 : M a c hine ry, e quipme nt , a nd ve hic le s

46. Does the debtor own or lease any machinery, equipment, or vehicles?

      No. Go to Part 9.
      ✔


      Yes. Fill in the information below.

    General description                                                    Net book value of    Valuation method used    Current value of
                                                                           debtor's interest    for current value        debtor’s interest
    Include year, make, model, and identification numbers (i.e., VIN,
                                                                           (Where available)
    HIN, or N-number)

47. Automobiles, vans, trucks, motorcycles, trailers, and titled farm vehicles

    47.1___________________________________________________________         $________________    ____________________   $______________________

    47.2___________________________________________________________         $________________    ____________________   $______________________

    47.3___________________________________________________________         $________________    ____________________   $______________________

    47.4___________________________________________________________         $________________    ____________________   $______________________

48. Watercraft, trailers, motors, and related accessories Examples: Boats,
    trailers, motors, floating homes, personal watercraft, and fishing vessels

    48.1__________________________________________________________         $________________     ____________________   $______________________

    48.2__________________________________________________________         $________________     ____________________   $______________________

49. Aircraft and accessories

    49.1__________________________________________________________         $________________     ____________________   $______________________

    49.2__________________________________________________________         $________________     ____________________   $______________________

50. Other machinery, fixtures, and equipment
    (excluding farm machinery and equipment)


    ______________________________________________________________         $________________     ____________________   $______________________


51. Total of Part 8.
                                                                                                                        $______________________
    Add lines 47 through 50. Copy the total to line 87.



52. Is a depreciation schedule available for any of the property listed in Part 8?
      No
      Yes
53. Has any of the property listed in Part 8 been appraised by a professional within the last year?
      No
      Yes




 Official Form 206A/B                                      Schedule A/B: Assets  Real and Personal Property                       page 5
               Case   9:24-bk-10035-RC
                Broad Oak Retail, Inc.
                                                              Doc 1 Filed 01/12/24 Entered 01/12/24 09:59:51 Desc
 Debtor                                                       Main Document Page 12 Case
                  _______________________________________________________            of 45
                                                                                         number (if known)_____________________________________
                  Name




Pa rt 9 :    Re a l prope rt y

54. Does the debtor own or lease any real property?
        No. Go to Part 10.
       ✔


        Yes. Fill in the information below.
55. Any building, other improved real estate, or land which the debtor owns or in which the debtor has an interest

       Description and location of property                    Nature and extent      Net book value of    Valuation method used    Current value of
       Include street address or other description such as     of debtor’s interest   debtor's interest    for current value        debtor’s interest
       Assessor Parcel Number (APN), and type of property      in property            (Where available)
       (for example, acreage, factory, warehouse, apartment
       or office building), if available.

55.1

                                                                                      $_______________     ____________________     $_____________________

55.2

                                                                                      $_______________     ____________________     $_____________________

55.3

                                                                                      $_______________     ____________________     $_____________________


56. Total of Part 9.
                                                                                                                                    $_____________________
       Add the current value on lines 55.1 through 55.6 and entries from any additional sheets. Copy the total to line 88.

57. Is a depreciation schedule available for any of the property listed in Part 9?
        No
        Yes
58. Has any of the property listed in Part 9 been appraised by a professional within the last year?
        No
        Yes
Pa rt 1 0 : I nta ngible s a nd int e lle c t ua l prope rty

59. Does the debtor have any interests in intangibles or intellectual property?
        No. Go to Part 11.
       ✔


        Yes. Fill in the information below.
        General description                                                           Net book value of    Valuation method         Current value of
                                                                                      debtor's interest    used for current value   debtor’s interest
                                                                                      (Where available)
60. Patents, copyrights, trademarks, and trade secrets
       ______________________________________________________________                 $_________________   ______________________   $____________________

61. Internet domain names and websites
       ______________________________________________________________                 $_________________   ______________________    $____________________

62. Licenses, franchises, and royalties
       ______________________________________________________________                 $_________________   ______________________    $____________________

63. Customer lists, mailing lists, or other compilations
       ______________________________________________________________                 $_________________   ______________________    $____________________

64. Other intangibles, or intellectual property
       ______________________________________________________________                  $________________   _____________________    $____________________
65. Goodwill
       ______________________________________________________________                  $________________   _____________________    $____________________

66. Total of Part 10.
                                                                                                                                    $____________________
       Add lines 60 through 65. Copy the total to line 89.




 Official Form 206A/B                                             Schedule A/B: Assets  Real and Personal Property                            page 6
             Case 9:24-bk-10035-RC                         Doc 1 Filed 01/12/24 Entered 01/12/24 09:59:51 Desc
Debtor            Broad Oak Retail, Inc.                   Main Document Page 13 Case
                 _______________________________________________________          of 45
                                                                                      number (if known)_____________________________________
                 Name




67. Do your lists or records include personally identifiable information of customers (as defined in 11 U.S.C. §§ 101(41A) and 107)?
     No
     Yes
68. Is there an amortization or other similar schedule available for any of the property listed in Part 10?
     No
     Yes
69. Has any of the property listed in Part 10 been appraised by a professional within the last year?
     No
     Yes
Pa rt 1 1 : All ot he r a sse t s

70. Does the debtor own any other assets that have not yet been reported on this form?
    Include all interests in executory contracts and unexpired leases not previously reported on this form.
     No. Go to Part 12.
      ✔


     Yes. Fill in the information below.
                                                                                                                                    Current value of
                                                                                                                                    debtor’s interest
71. Notes receivable
     Description (include name of obligor)
                                                                       _______________ –   __________________________         =   $_____________________
     ______________________________________________________
                                                                       Total face amount   doubtful or uncollectible amount

72. Tax refunds and unused net operating losses (NOLs)

     Description (for example, federal, state, local)

     _________________________________________________________________________________
                                                                                                         Tax year ___________      $_____________________
     _________________________________________________________________________________
                                                                                                         Tax year ___________      $_____________________
     _________________________________________________________________________________
                                                                                                         Tax year ___________      $_____________________

73. Interests in insurance policies or annuities
    ______________________________________________________________                                                                 $_______________________

74. Causes of action against third parties (whether or not a lawsuit
    has been filed)
    ______________________________________________________________                                                                 $_______________________
    Nature of claim                    ___________________________________

    Amount requested                   $________________

75. Other contingent and unliquidated claims or causes of action of
    every nature, including counterclaims of the debtor and rights to
    set off claims
    ______________________________________________________________                                                                 $_______________________

    Nature of claim                    ___________________________________

    Amount requested                   $________________

76. Trusts, equitable or future interests in property

    ______________________________________________________________                                                                  $_____________________

77. Other property of any kind not already listed Examples: Season tickets,
    country club membership
   ____________________________________________________________                                                                    $_____________________
   ____________________________________________________________                                                                    $_____________________
78. Total of Part 11.
                                                                                                                                   $_____________________
    Add lines 71 through 77. Copy the total to line 90.

79. Has any of the property listed in Part 11 been appraised by a professional within the last year?
     No
     Yes
Official Form 206A/B                                           Schedule A/B: Assets  Real and Personal Property                               page 7
              Case 9:24-bk-10035-RC                               Doc 1 Filed 01/12/24 Entered 01/12/24 09:59:51 Desc
                   Broad Oak Retail, Inc.
Debtor                                                            Main Document Page 14 Case
                  _______________________________________________________                of 45
                                                                                             number (if known)_____________________________________
                  Name




Pa rt 1 2 :     Sum ma ry



In Part 12 copy all of the totals from the earlier parts of the form.


       Type of property                                                                             Current value of                       Current value
                                                                                                    personal property                      of real property
                                                                                                         318,500.00
80. Cash, cash equivalents, and financial assets. Copy line 5, Part 1.                                 $_______________

                                                                                                         0.00
81. Deposits and prepayments. Copy line 9, Part 2.                                                     $_______________

                                                                                                         0.00
82. Accounts receivable. Copy line 12, Part 3.                                                         $_______________

                                                                                                         0.00
83. Investments. Copy line 17, Part 4.                                                                 $_______________
                                                                                                         112,000.00
84. Inventory. Copy line 23, Part 5.                                                                   $_______________
                                                                                                         0.00
85. Farming and fishing-related assets. Copy line 33, Part 6.                                          $_______________

86. Office furniture, fixtures, and equipment; and collectibles.                                         0.00
                                                                                                       $_______________
     Copy line 43, Part 7.
                                                                                                         0.00
87. Machinery, equipment, and vehicles. Copy line 51, Part 8.                                          $_______________

                                                                                                                                            0.00
                                                                                                                                          $________________
88. Real property. Copy line 56, Part 9. . .................................................................................. 
                                                                                                         0.00
89. Intangibles and intellectual property. Copy line 66, Part 10.                                      $_______________

                                                                                                      0.00
90. All other assets. Copy line 78, Part 11.                                                      + $_______________
                                                                                                         430,500.00                        0.00
91. Total. Add lines 80 through 90 for each column. ........................... 91a.                   $_______________           + 91b. $________________

                                                                  430,500.00                                                                                     430,500.00
92. Total of all property on Schedule A/B. Lines 91a + 91b = 92. ...........................................................................................   $__________________




Official Form 206A/B                                                     Schedule A/B: Assets  Real and Personal Property                                             page 8
               Case 9:24-bk-10035-RC                             Doc 1 Filed 01/12/24 Entered 01/12/24 09:59:51                                           Desc
                                                                 Main Document Page 15 of 45
  Fill in this information to identify the case:
              Broad Oak Retail, Inc.
  Debtor name __________________________________________________________________
                                          _______________________________________
  United States Bankruptcy Court for the: Central District of California

  Case number (If known):       _________________________                                                                                             Check if this is an
                                                                                                                                                          amended filing
 Official Form 206D
 Sc he dule D: Cre dit ors Who H a ve Cla im s Se c ure d by Prope rt y                                                                                              12/15
 Be as complete and accurate as possible.

 1. Do any creditors have claims secured by debtor’s property?
     No. Check this box and submit page 1 of this form to the court with debtor’s other schedules. Debtor has nothing else to report on this form.
     Yes. Fill in all of the information below.
 Pa rt 1 :      List Cre dit ors Who H a ve Se c ure d Cla im s
                                                                                                                               Column A                  Column B
 2. List in alphabetical order all creditors who have secured claims. If a creditor has more than one
    secured claim, list the creditor separately for each claim.                                                                Amount of claim           Value of collateral
                                                                                                                               Do not deduct the value   that supports this
2.1 Creditor’s name                                              Describe debtor’s property that is subject to a lien          of collateral.            claim
     8fig, Inc.

      __________________________________________                                                                                 808,506.78
                                                                                                                               $__________________          318,000.00
                                                                                                                                                          $_________________

     Creditor’s mailing address

      11801 Domain Blvd., Third Floor
      ________________________________________________________
      Austin, TX 78758
      ________________________________________________________

                                                                 Describe the lien
    Creditor’s email address, if known
                                                                 Statutory
                                                                 _________________________________________________
      _________________________________________
                                                                 Is the creditor an insider or related party?
    Date debt was incurred            12/14/2022
                                     __________________          
                                                                 ✔ No

    Last 4 digits of account                                      Yes
    number                   _________________                   Is anyone else liable on this claim?
    Do multiple creditors have an interest in the                
                                                                 ✔ No

    same property?                                                Yes. Fill out Schedule H: Codebtors (Official Form 206H).
     No
                                                                 As of the petition filing date, the claim is:
    ✔
        Yes. Specify each creditor, including this creditor,
                                                                 Check all that apply.
    Wayflyer, 1st; Amazon Lending, 2nd;                          
                                                                 ✔ Contingent
    8fig, Inc., 3rd; 8fig, Inc., 4th                              Unliquidated
                                                                 
                                                                 ✔ Disputed
2.2 Creditor’s name                                              Describe debtor’s property that is subject to a lien
     8fig, Inc.
                                                                                                                               $__________________
                                                                                                                                0.00                      $_________________
                                                                                                                                                           318,000.00
      __________________________________________
     Creditor’s mailing address
      1717 W 6th St., Suite 335
      ________________________________________________________
      Austin, TX 78703
      ________________________________________________________


    Creditor’s email address, if known
      jailnbunton@dwt.com
      _________________________________________
                                                                 Describe the lien
                             2021-2023
    Date debt was incurred __________________
    Last 4 digits of account                                      Statutory
                                                                  _________________________________________________
    number                   3220
                             _________________
                                                                 Is the creditor an insider or related party?
    Do multiple creditors have an interest in the                
                                                                 ✔ No
    same property?                                                Yes
     No                                                         Is anyone else liable on this claim?
    
    ✔ Yes. Have you already specified the relative
                                                                  No
           priority?
                                                                  Yes. Fill out Schedule H: Codebtors (Official Form 206H).
          No. Specify each creditor, including this
                creditor, and its relative priority.             As of the petition filing date, the claim is:
                                                                 Check all that apply.
                                                                 
                                                                 ✔ Contingent
          Yes. The relative priority of creditors is             Unliquidated
                                    2.1
               specified on lines _____                          
                                                                 ✔ Disputed


 3. Total of the dollar amounts from Part 1, Column A, including the amounts from the Additional                                  1,528,624.14
                                                                                                                                $________________
    Page, if any.
   Official Form 206D                                Schedule D: Creditors Who Have Claims Secured by Property                                                        3
                                                                                                                                                            page 1 of ___
                 Case    9:24-bk-10035-RC
                  Broad Oak Retail, Inc.
                                                                Doc 1 Filed 01/12/24 Entered 01/12/24 09:59:51 Desc
  Debtor            _______________________________________________________
                                                                Main Document Page 16 Case number (if known)_____________________________________
                                                                                       of 45
                    Name



                                                                                                                               Column A                Column B
 Pa rt 1 :      Addit iona l Pa ge                                                                                             Amount of claim         Value of collateral
                                                                                                                               Do not deduct the value that supports this
                                                                                                                               of collateral.          claim
  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
  previous page.

2.__
  3 Creditor’s name                                             Describe debtor’s property that is subject to a lien
     Amazon Lending

     __________________________________________                                                                                 598,210.20
                                                                                                                               $__________________      318,000.00
                                                                                                                                                       $_________________
     Creditor’s mailing address

     410 Terry Ave N.
     ________________________________________________________

     Seattle, WA 98109
     ________________________________________________________




    Creditor’s email address, if known
     _________________________________________



    Date debt was incurred            5/19/2021
                                      __________________        Describe the lien
    Last 4 digits of account                                     Statutory
                                                                 __________________________________________________
    number                   _________________
                                                                 Is the creditor an insider or related party?
    Do multiple creditors have an interest in the                
                                                                 ✔ No
    same property?                                                Yes
     No
    
    ✔ Yes. Have you already specified the relative
                                                                 Is anyone else liable on this claim?
               priority?                                         
                                                                 ✔ No
            No. Specify each creditor, including this            Yes. Fill out Schedule H: Codebtors (Official Form 206H).
                    creditor, and its relative priority.
                                                                 As of the petition filing date, the claim is:
                                                                 Check all that apply.
                                                                 
                                                                 ✔ Contingent
           
           ■
             Yes. The relative priority of creditors is           Unliquidated
                                      2.1
                 specified on lines _____                        
                                                                 ✔ Disputed



2.__
  4 Creditor’s name                                             Describe debtor’s property that is subject to a lien
     Wayflyer


     __________________________________________                                                                                 121,907.16
                                                                                                                               $__________________       318,000.00
                                                                                                                                                       $_________________
     Creditor’s mailing address


      746 Willoughby Way NE #400
     ________________________________________________________

      Atlanta, GA 30312
     ________________________________________________________




    Creditor’s email address, if known
     _________________________________________

    Date debt was incurred             9/9/2020
                                      __________________
                                                                Describe the lien
    Last 4 digits of account
    number                   _________________                   Statutory
                                                                 __________________________________________________


    Do multiple creditors have an interest in the                Is the creditor an insider or related party?
    same property?                                               
                                                                 ✔ No

     No                                                          Yes
    
    ✔ Yes. Have you already specified the relative               Is anyone else liable on this claim?
               priority?                                         
                                                                 ✔ No

            No. Specify each creditor, including this            Yes. Fill out Schedule H: Codebtors (Official Form 206H).
                    creditor, and its relative priority.
                                                                 As of the petition filing date, the claim is:
                                                                 Check all that apply.
                                                                 
                                                                 ✔ Contingent
           
           ✔ Yes. The relative priority of creditors is
                                                                  Unliquidated
                 specified on lines _____
                                     2.1                          Disputed

  Official Form 206D                         Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                 page ___
                                                                                                                                                                2 of ___
                                                                                                                                                                      3
             Case 9:24-bk-10035-RC                    Doc 1 Filed 01/12/24 Entered 01/12/24 09:59:51                                         Desc
                                                      Main Document Page 17 of 45
Debtor
               Broad Oak Retail, Inc.
               _______________________________________________________                            Case number (if known)_____________________________________
               Name



Pa rt 2 :    List Ot he rs t o Be N ot ifie d for a De bt Alre a dy List e d in Pa rt 1

List in alphabetical order any others who must be notified for a debt already listed in Part 1. Examples of entities that may be listed are collection
agencies, assignees of claims listed above, and attorneys for secured creditors.

If no others need to be notified for the debts listed in Part 1, do not fill out or submit this page. If additional pages are needed, copy this page.

                                                                                                                On which line in Part 1      Last 4 digits of
         Name and address
                                                                                                                did you enter the            account number
                                                                                                                related creditor?            for this entity
     Alien Finance, LLC
     Attn: Agent, Officer or CEO                                                                                                               3220
     5830 E 2nd Street Suite 7000                                                                                      2
                                                                                                               Line 2. __                    _________________
     Casper, WY, 82609
     Amazon Capital Services
     P.O. Box 84837
     Seattle, WA, 98124                                                                                                3
                                                                                                               Line 2. __                    _________________


     Amazon Lending
     Synchrony Bank / Amazon.com
     PO Box 530598                                                                                                     3
                                                                                                               Line 2. __                    _________________
     Atlanta, GA, 30353

     CBB Inc.
     Attn: Agent, Officer or CEO
     14442 Jewel Ave.
                                                                                                                       2
                                                                                                               Line 2. __                    _________________
     Flushing, NY, 11367
     Corporation Service Company
     801 Adlai Stevenson Dr.                                                                                                                   6924
     Springfield, IL, 62703                                                                                            2
                                                                                                               Line 2. __                    _________________


     Davis Wright Tremaine LLP
     Attn: Jailyn Bunton                                                                                                                       3220
     920 Fifth Ave. Suite 3300                                                                                         2
                                                                                                               Line 2. __                    _________________
     Seattle, WA, 98104
    First Corporate Solutions, Inc.
    914 S Street                                                                                                                               5424
    95811                                                                                                              4
                                                                                                               Line 2. __                    _________________


    Padfield & Stout, LLP
    420 Throckmorton St., Ste. 1210                                                                                                            4629
    Fort Worth, TX, 76102
                                                                                                                       1
                                                                                                               Line 2. __                    _________________


     Wolters Kluwer Lien Solutions
     P.O. Box 29071                                                                                                                            6840
     Glendale, CA, 91209                                                                                               3
                                                                                                               Line 2. __                    _________________




                                                                                                               Line 2. __                    _________________




                                                                                                               Line 2. __                    _________________




                                                                                                               Line 2. __                    _________________




                                                                                                               Line 2. __                    _________________




                                                                                                               Line 2. __                    _________________




Form 206D                          Official Part 2 of Schedule D: Creditors Who Have Claims Secured by Property                                 page ___
                                                                                                                                                      3 of ___
                                                                                                                                                           3
                 Case 9:24-bk-10035-RC                  Doc 1 Filed 01/12/24 Entered 01/12/24 09:59:51                                 Desc
   Fill in this information to identify the case:       Main Document Page 18 of 45

   Debtor
                    Broad Oak Retail, Inc.
                    __________________________________________________________________

                                           Central District of California
   United States Bankruptcy Court for the: ________________________________

   Case number       ___________________________________________
    (If known)

                                                                                                                                     Check if this is an
                                                                                                                                        amended filing
  Official Form 206E/F
  Sc he dule E/F: Cre dit ors Who Ha ve U nse c ure d Cla im s                                                                                    12/15
  Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY
  unsecured claims. List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts
  on Schedule A/B: Assets - Real and Personal Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases
  (Official Form 206G). Number the entries in Parts 1 and 2 in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach
  the Additional Page of that Part included in this form.

 Pa rt 1 :       List All Cre ditors w ith PRI ORI T Y U nse c ure d Cla im s

 1. Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).
     No. Go to Part 2.
    
    ✔ Yes. Go to line 2.


 2. List in alphabetical order all creditors who have unsecured claims that are entitled to priority in whole or in part. If the debtor has more than
    3 creditors with priority unsecured claims, fill out and attach the Additional Page of Part 1.

                                                                                                         Total claim                Priority amount
2.1 Priority creditor’s name and mailing address            As of the petition filing date, the claim is: $______________________
                                                                                                           Unknown
    CDTFA                                                                                                                           $_________________
                                                            Check all that apply.
    PO Box 942879                                           
                                                            ✔ Contingent
    Sacramento, CA, 94279                                    Unliquidated
                                                            
                                                            ✔ Disputed

                                                            Basis for the claim:
    Date or dates debt was incurred                          Taxes & Other Government Units
    2022
    _________________________________

    Last 4 digits of account                                Is the claim subject to offset?
    number      _______________________                     ✔ No

                                                             Yes
    Specify Code subsection of PRIORITY unsecured
                                8
    claim: 11 U.S.C. § 507(a) (_____)
    Priority creditor’s name and mailing address
2.2 Franchise Tax Board                                     As of the petition filing date, the claim is: $______________________
                                                                                                            0.00                      0.00
                                                                                                                                    $_________________
                                                            Check all that apply.
    Bankruptcy Section MS A-340
    P.O. Box 2952                                            Contingent
    Sacramento, CA, 95812                                    Unliquidated
                                                             Disputed
                                                            Basis for the claim:
    Date or dates debt was incurred
                                                             Taxes & Other Government Units
    Notice Only
    _________________________________

    Last 4 digits of account
    number      _______________________                     Is the claim subject to offset?
                                                            ✔ No

    Specify Code subsection of PRIORITY unsecured            Yes
    claim: 11 U.S.C. § 507(a) (_____)
                                8
2.3 Priority creditor’s name and mailing address            As of the petition filing date, the claim is: $______________________
                                                                                                           13,000.00                 13,000.00
    I.R.S.                                                                                                                          $_________________
                                                            Check all that apply.
    P.O. Box 7346
                                                             Contingent
                                                             ✔
    Philadelphia, PA, 19101                                  Unliquidated
                                                            
                                                            ✔ Disputed

                                                            Basis for the claim:
    Date or dates debt was incurred                          Taxes & Other Government Units
    2022
    _________________________________

    Last 4 digits of account
    number      _______________________                     Is the claim subject to offset?
                                                            ✔
                                                                 No
    Specify Code subsection of PRIORITY unsecured            Yes
    claim: 11 U.S.C. § 507(a) (_____)
                               8


  Official Form 206E/F                              Schedule E/F: Creditors Who Have Unsecured Claims                                               4
                                                                                                                                         page 1 of ___
               Case    9:24-bk-10035-RC
                Broad Oak Retail, Inc.                Doc 1 Filed 01/12/24 Entered 01/12/24 09:59:51 Desc
  Debtor         _______________________________________________________
                 Name                                 Main Document Page 19 Case number (if known)_____________________________________
                                                                             of 45
 Pa rt 1 .   Addit iona l Pa ge


 Copy this page if more space is needed. Continue numbering the lines sequentially from the
 previous page. If no additional PRIORITY creditors exist, do not fill out or submit this page.            Total claim              Priority amount


  4
2.____ Priority creditor’s name and mailing address                                                        0.00
                                                                                                          $______________________   $_________________
      Minnesota Revenue                                   As of the petition filing date, the claim is:
      Mail Station 6330                                   Check all that apply.
      600 N. Robert St.                                    Contingent
      St. Paul, MN 55146-6330                              Unliquidated
                                                           Disputed

       Date or dates debt was incurred                    Basis for the claim:

       _________________________________
                                                          Taxes & Other Government Units
                                                          _________________________________
       Last 4 digits of account
       number      _______________________
                                                          Is the claim subject to offset?
       Specify Code subsection of PRIORITY unsecured
                                   8
       claim: 11 U.S.C. § 507(a) (_____)
                                                          
                                                          ✔ No
                                                           Yes

2.____ Priority creditor’s name and mailing address
                                                                                                          $______________________   $_________________
                                                          As of the petition filing date, the claim is:
                                                          Check all that apply.
                                                           Contingent
                                                           Unliquidated
                                                           Disputed
                                                          Basis for the claim:
       Date or dates debt was incurred
       _________________________________                  _________________________________

       Last 4 digits of account
                                                          Is the claim subject to offset?
       number _______________________

       Specify Code subsection of PRIORITY unsecured
                                                           No
       claim: 11 U.S.C. § 507(a) (_____)
                                                           Yes

2.____ Priority creditor’s name and mailing address
                                                                                                          $______________________   $_________________
                                                          As of the petition filing date, the claim is:
                                                          Check all that apply.
                                                           Contingent
                                                           Unliquidated
                                                           Disputed
                                                          Basis for the claim:
       Date or dates debt was incurred
       _________________________________                  _________________________________

       Last 4 digits of account
       number      _______________________                Is the claim subject to offset?

       Specify Code subsection of PRIORITY unsecured       No
       claim: 11 U.S.C. § 507(a) (_____)                   Yes

2.____ Priority creditor’s name and mailing address
                                                          As of the petition filing date, the claim is: $______________________     $_________________
                                                          Check all that apply.
                                                           Contingent
                                                           Unliquidated
                                                           Disputed

                                                          Basis for the claim:
       Date or dates debt was incurred
                                                          _________________________________
       _________________________________

       Last 4 digits of account                           Is the claim subject to offset?
       number      _______________________

       Specify Code subsection of PRIORITY unsecured
                                                           No
       claim: 11 U.S.C. § 507(a) (_____)
                                                           Yes

      Official Form 206E/F                        Schedule E/F: Creditors Who Have Unsecured Claims                                             page __    4
                                                                                                                                                     2 of ___
             Case   9:24-bk-10035-RC
              Broad Oak Retail, Inc.                  Doc 1 Filed 01/12/24 Entered 01/12/24 09:59:51 Desc
  Debtor        _______________________________________________________
                Name                                  Main Document Page 20 Case number (if known)_____________________________________
                                                                             of 45
 Pa rt 2 :   List All Cre ditors w ith NONPRI ORI T Y U nse c ure d Cla ims

 3. List in alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 6 creditors with nonpriority
    unsecured claims, fill out and attach the Additional Page of Part 2.
                                                                                                                              Amount of claim
                                                                           As of the petition filing date, the claim is:
3.1 Nonpriority creditor’s name and mailing address                        Check all that apply.
    Bank of America                                                                                                          79,595.46
                                                                                                                           $________________________________
                                                                            Contingent
    P.O. Box 982238                                                         Unliquidated
    El Paso, TX, 79998                                                      Disputed
                                                                                                   Credit Card Debt
                                                                           Basis for the claim:



    Date or dates debt was incurred            2022  - 2023
                                               ___________________          Is the claim subject to offset?

    Last 4 digits of account number            1211
                                               ___________________         
                                                                           ✔ No
                                                                            Yes
3.2 Nonpriority creditor’s name and mailing address                        As of the petition filing date, the claim is:
    Goldman Sachs Bank                                                     Check all that apply.                             130,000.00
                                                                                                                           $________________________________
    P.O. Box 45400                                                          Contingent
    Salt Lake City, UT, 84145                                               Unliquidated
                                                                            Disputed
                                                                           Basis for the claim:
                                                                                                   Monies Loaned / Advanced


    Date or dates debt was incurred            2021-2023
                                               ___________________         Is the claim subject to offset?
                                                                           
                                                                           ✔ No
    Last 4 digits of account number            TBD
                                               __________________           Yes
                                                                           As of the petition filing date, the claim is:
3.3 Nonpriority creditor’s name and mailing address                        Check all that apply.
                                                                                                                           $________________________________
                                                                            Contingent
                                                                            Unliquidated
                                                                            Disputed
                                                                           Basis for the claim:


    Date or dates debt was incurred            ___________________
                                                                            Is the claim subject to offset?
    Last 4 digits of account number            __________________           No
                                                                            Yes
3.4 Nonpriority creditor’s name and mailing address                        As of the petition filing date, the claim is:
                                                                           Check all that apply.                           $________________________________
                                                                            Contingent
                                                                            Unliquidated
                                                                            Disputed
                                                                            Basis for the claim:


    Date or dates debt was incurred            ___________________         Is the claim subject to offset?

    Last 4 digits of account number            __________________           No
                                                                            Yes
3.5 Nonpriority creditor’s name and mailing address                        As of the petition filing date, the claim is:
                                                                           Check all that apply.                           $________________________________
                                                                            Contingent
                                                                            Unliquidated
                                                                            Disputed
                                                                           Basis for the claim:

    Date or dates debt was incurred            ___________________
                                                                           Is the claim subject to offset?
    Last 4 digits of account number            __________________           No
                                                                            Yes
3.6 Nonpriority creditor’s name and mailing address                        As of the petition filing date, the claim is:
                                                                           Check all that apply.                           $________________________________
                                                                            Contingent
                                                                            Unliquidated
                                                                            Disputed
                                                                           Basis for the claim:


    Date or dates debt was incurred            ___________________         Is the claim subject to offset?
    Last 4 digits of account number            ___________________          No
                                                                            Yes

    Official Form 206E/F                           Schedule E/F: Creditors Who Have Unsecured Claims                                              page __    4
                                                                                                                                                       3 of ___
            Case    9:24-bk-10035-RC
             Broad Oak Retail, Inc.              Doc 1 Filed 01/12/24 Entered 01/12/24 09:59:51 Desc
 Debtor        _______________________________________________________
               Name                              Main Document Page 21 Case number (if known)_____________________________________
                                                                        of 45
Pa rt 4 :    T ot a l Amounts of the Priority a nd N onpriorit y Unse c ure d Cla im s


5. Add the amounts of priority and nonpriority unsecured claims.




                                                                                                       Total of claim amounts



5a. Total claims from Part 1                                                                 5a.
                                                                                                         13,000.00
                                                                                                       $_____________________________




5b. Total claims from Part 2                                                                 5b.   +     209,595.46
                                                                                                       $_____________________________




5c. Total of Parts 1 and 2                                                                               222,595.46
                                                                                             5c.       $_____________________________
   Lines 5a + 5b = 5c.




   Official Form 206E/F                       Schedule E/F: Creditors Who Have Unsecured Claims                                 page __    4
                                                                                                                                     4 of ___
             Case 9:24-bk-10035-RC                    Doc 1 Filed 01/12/24 Entered 01/12/24 09:59:51                                      Desc
                                                      Main Document Page 22 of 45
 Fill in this information to identify the case:

             Broad Oak Retail, Inc.
 Debtor name __________________________________________________________________

                                         Central District of California
 United States Bankruptcy Court for the:______________________

 Case number (If known):    _________________________                       7
                                                                    Chapter _____



                                                                                                                                       Check if this is an
                                                                                                                                          amended filing

Official Form 206G
Sc he dule G: Ex e c ut ory Cont ra c t s a nd U ne x pire d Le a se s                                                                               12/15

Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, numbering the entries consecutively.

 1. Does the debtor have any executory contracts or unexpired leases?
        No. Check this box and file this form with the court with the debtor’s other schedules. There is nothing else to report on this form.
        Yes. Fill in all of the information below even if the contracts or leases are listed on Schedule A/B: Assets - Real and Personal Property (Official
       Form 206A/B).
 2. List all contracts and unexpired leases                                              State the name and mailing address for all other parties with
                                                                                         whom the debtor has an executory contract or unexpired lease


         State what the contract or
 2.1     lease is for and the nature
         of the debtor’s interest

         State the term remaining
         List the contract number of
         any government contract


         State what the contract or
 2.2     lease is for and the nature
         of the debtor’s interest

         State the term remaining
         List the contract number of
         any government contract


         State what the contract or
 2.3     lease is for and the nature
         of the debtor’s interest

         State the term remaining
         List the contract number of
         any government contract


         State what the contract or
 2.4
         lease is for and the nature
         of the debtor’s interest

         State the term remaining
         List the contract number of
         any government contract


         State what the contract or
 2.5     lease is for and the nature
         of the debtor’s interest

         State the term remaining
         List the contract number of
         any government contract




Official Form 206G                          Schedule G: Executory Contracts and Unexpired Leases                                                       1
                                                                                                                                            page 1 of ___
             Case 9:24-bk-10035-RC                      Doc 1 Filed 01/12/24 Entered 01/12/24 09:59:51                                       Desc
                                                        Main Document Page 23 of 45
 Fill in this information to identify the case:

 Debtor name __________________________________________________________________
             Broad Oak Retail, Inc.

                                         Central District of California
 United States Bankruptcy Court for the:_______________________________

 Case number (If known):    _________________________




                                                                                                                                          Check if this is an
                                                                                                                                             amended filing
Official Form 206H
Sc he dule H : Code bt ors                                                                                                                               12/15

Be as complete and accurate as possible. If more space is needed, copy the Additional Page, numbering the entries consecutively. Attach
the Additional Page to this page.


 1. Does the debtor have any codebtors?
        No. Check this box and submit this form to the court with the debtor's other schedules. Nothing else needs to be reported on this form.
       
       ✔ Yes
 2. In Column 1, list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in the schedules of
       creditors, Schedules D-G. Include all guarantors and co-obligors. In Column 2, identify the creditor to whom the debt is owed and each
       schedule on which the creditor is listed. If the codebtor is liable on a debt to more than one creditor, list each creditor separately in Column 2.

        Column 1: Codebtor                                                                                Column 2: Creditor

                                                                                                                                             Check all schedules
            Name                      Mailing address                                                     Name
                                                                                                                                             that apply:


 2.1 Karol Laurie                    1320 Flynn Road # 302                                               Goldman Sachs Bank                   D
       Caballero                     Calle                                                                                                   ✔ E/F
                                                                                                                                             
                                     Camarillo, CA 93012                                                                                      G




 2.2                          1320 Flynn Road # 302
                                                                                                                                              D
                              Calle                                                                                                          ✔ E/F
                                                                                                                                             
       Karol Laurie Caballero Camarillo, CA 93012                                                        Bank of America                      G




 2.3
                                                                                                                                              D
                                                                                                                                              E/F
                                                                                                                                              G



 2.4
                                                                                                                                              D
                                                                                                                                              E/F
                                                                                                                                              G



 2.5
                                                                                                                                              D
                                                                                                                                              E/F
                                                                                                                                              G




 2.6
                                                                                                                                              D
                                                                                                                                              E/F
                                                                                                                                              G




Official Form 206H                                               Schedule H: Codebtors                                                                    1
                                                                                                                                               page 1 of ___
Case 9:24-bk-10035-RC   Doc 1 Filed 01/12/24 Entered 01/12/24 09:59:51   Desc
                        Main Document Page 24 of 45
            Case 9:24-bk-10035-RC                       Doc 1 Filed 01/12/24 Entered 01/12/24 09:59:51                                  Desc
                                                        Main Document Page 25 of 45

Fill in this information to identify the case:
             Broad Oak Retail, Inc.
Debtor name __________________________________________________________________

                                        ______________________
United States Bankruptcy Court for the: Central District of California District of _________
                                                                               (State)
Case number (If known):   _________________________                                               ___________________________________________



                                                                                                                                      Check if this is an
                                                                                                                                         amended filing


Official Form 207
Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                                                                    04/22

The debtor must answer every question. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write the debtor’s name and case number (if known).


 Part 1:        Income



 1. Gross revenue from business

     None
            Identify the beginning and ending dates of the debtor’s fiscal year, which         Sources of revenue                  Gross revenue
            may be a calendar year                                                             Check all that apply                (before deductions and
                                                                                                                                   exclusions)

           From the beginning of the                                                            
                                                                                                ✔ Operating a business
                                                                                                                                                42,287.00
           fiscal year to filing date:            01/01/2024
                                            From ___________         to     Filing date          Other                             $_____________________
                                                   MM / DD / YYYY


           For prior year:                        01/01/2023
                                            From ___________         to      12/31/2023
                                                                             ___________        
                                                                                                ✔ Operating a business                       4,186,667.00
                                                                                                                                    $_____________________
                                                   MM / DD / YYYY            MM / DD / YYYY
                                                                                                 Other
           For the year before that:              01/01/2022
                                            From ___________         to      12/31/2022
                                                                             ___________        
                                                                                                ✔ Operating a business
                                                                                                                                             4,205,801.00
                                                   MM / DD / YYYY            MM / DD / YYYY                                         $_____________________
                                                                                                 Other


 2. Non-business revenue
    Include revenue regardless of whether that revenue is taxable. Non-business income may include interest, dividends, money collected
    from lawsuits, and royalties. List each source and the gross revenue for each separately. Do not include revenue listed in line 1.

     
     ✔ None

                                                                                               Description of sources of revenue   Gross revenue from each
                                                                                                                                   source
                                                                                                                                   (before deductions and
                                                                                                                                   exclusions)

           From the beginning of the
                                                                                               ___________________________         $__________________
           fiscal year to filing date: From ___________               to     Filing date
                                                   MM / DD / YYYY



           For prior year:                  From ___________          to     ___________
                                                   MM / DD / YYYY             MM / DD / YYYY   ___________________________         $__________________



           For the year before that:        From ___________          to     ___________
                                                   MM / DD / YYYY             MM / DD / YYYY   ___________________________         $__________________




 Official Form 207                           Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                            page 1
            Case 9:24-bk-10035-RC                   Doc 1 Filed 01/12/24 Entered 01/12/24 09:59:51                                        Desc
                                                    Main Document Page 26 of 45
                Broad Oak Retail, Inc.
Debtor          _______________________________________________________                        Case number (if known)_____________________________________
                Name




 Part 2:       List Certain Transfers Made Before Filing for Bankruptcy

 3. Certain payments or transfers to creditors within 90 days before filing this case
    List payments or transfersincluding expense reimbursementsto any creditor, other than regular employee compensation, within 90
    days before filing this case unless the aggregate value of all property transferred to that creditor is less than $7,575. (This amount may be
    adjusted on 4/01/23 and every 3 years after that with respect to cases filed on or after the date of adjustment.)

      None
     ✔
            Creditor’s name and address                        Dates          Total amount or value         Reasons for payment or transfer
                                                                                                            Check all that apply
     3.1.

            __________________________________________                        $_________________                 Secured debt
            Creditor’s name
                                                                                                                 Unsecured loan repayments

                                                                                                                 Suppliers or vendors

                                                                                                                 Services

                                                                                                                 Other _______________________________


     3.2.

                                                                              $_________________                 Secured debt
            __________________________________________
            Creditor’s name                                                                                      Unsecured loan repayments

                                                                                                                 Suppliers or vendors

                                                                                                                 Services

                                                                                                                 Other _______________________________


 4. Payments or other transfers of property made within 1 year before filing this case that benefited any insider
    List payments or transfers, including expense reimbursements, made within 1 year before filing this case on debts owed to an insider or
    guaranteed or cosigned by an insider unless the aggregate value of all property transferred to or for the benefit of the insider is less than
    $7,575. (This amount may be adjusted on 4/01/25 and every 3 years after that with respect to cases filed on or after the date of adjustment.)
    Do not include any payments listed in line 3. Insiders include officers, directors, and anyone in control of a corporate debtor and their
    relatives; general partners of a partnership debtor and their relatives; affiliates of the debtor and insiders of such affiliates; and any managing
    agent of the debtor. 11 U.S.C. § 101(31).

     
     ✔ None
            Insider’s name and address                         Dates          Total amount or value        Reasons for payment or transfer
     4.1.

            __________________________________________       _________       $__________________
            Insider’s name

                                                             _________

                                                             _________


            Relationship to debtor
            __________________________________________



     4.2.   __________________________________________
            Insider’s name
                                                             _________       $__________________

                                                             _________

                                                             _________




            Relationship to debtor

            __________________________________________



Official Form 207                         Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                page 2
              Case 9:24-bk-10035-RC                   Doc 1 Filed 01/12/24 Entered 01/12/24 09:59:51                                        Desc
                                                      Main Document Page 27 of 45
                 Broad Oak Retail, Inc.
Debtor           _______________________________________________________                          Case number (if known)_____________________________________
                 Name




 5. Repossessions, foreclosures, and returns
     List all property of the debtor that was obtained by a creditor within 1 year before filing this case, including property repossessed by a creditor,
     sold at a foreclosure sale, transferred by a deed in lieu of foreclosure, or returned to the seller. Do not include property listed in line 6.
     None
    ✔
            Creditor’s name and address                        Description of the property                                Date                Value of property
     5.1.

            __________________________________________                                                                    ______________      $___________
            Creditor’s name




     5.2.
            __________________________________________
            Creditor’s name                                                                                               _______________       $___________




 6. Setoffs

     List any creditor, including a bank or financial institution, that within 90 days before filing this case set off or otherwise took anything from an account of
     the debtor without permission or refused to make a payment at the debtor’s direction from an account of the debtor because the debtor owed a debt.
     None
    ✔
             Creditor’s name and address                          Description of the action creditor took                 Date action was        Amount
                                                                                                                          taken

             __________________________________________                                                                  _______________      $___________
             Creditor’s name




                                                                Last 4 digits of account number: XXXX– ________


  Part 3:       Legal Actions or Assignments

 7. Legal actions, administrative proceedings, court actions, executions, attachments, or governmental audits
     List the legal actions, proceedings, investigations, arbitrations, mediations, and audits by federal or state agencies in which the debtor
     was involved in any capacity—within 1 year before filing this case.

      None
     ✔
             Case title                              Nature of case                          Court or agency’s name and address                Status of case

     7.1.                                                                                                                                       Pending
                                                                                                                                                On appeal
             Case number                                                                                                                        Concluded

             _________________________________

             Case title                                                                      Court or agency’s name and address
                                                                                                                                                Pending
     7.2.
                                                                                                                                                On appeal
             Case number
                                                                                                                                                Concluded


             _________________________________


Official Form 207                          Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                 page 3
              Case 9:24-bk-10035-RC                     Doc 1 Filed 01/12/24 Entered 01/12/24 09:59:51                                           Desc
                                                        Main Document Page 28 of 45
                 Broad Oak Retail, Inc.
Debtor           _______________________________________________________                            Case number (if known)_____________________________________
                 Name




 8. Assignments and receivership
     List any property in the hands of an assignee for the benefit of creditors during the 120 days before filing this case and any property in the
     hands of a receiver, custodian, or other court-appointed officer within 1 year before filing this case.
     None
    ✔
             Custodian’s name and address                        Description of the property                        Value

             __________________________________________          ______________________________________             $_____________
             Custodian’s name
                                                                 Case title                                         Court name and address

                                                                 ______________________________________           __________________________________________
                                                                                                                  Name
                                                                 Case number


                                                                 ______________________________________
                                                                 Date of order or assignment

                                                                 ______________________________________

 Part 4:        Certain Gifts and Charitable Contributions

 9. List all gifts or charitable contributions the debtor gave to a recipient within 2 years before filing this case unless the aggregate value
     of the gifts to that recipient is less than $1,000
     None
    ✔
             Recipient’s name and address                        Description of the gifts or contributions                   Dates given            Value


     9.1.
            __________________________________________                                                                       _________________    $__________
            Recipient’s name


                                                                                                                             _________________    $__________




             Recipient’s relationship to debtor
             __________________________________________


            __________________________________________                                                                       _________________    $__________
     9.2. Recipient’s name



                                                                                                                             _________________     $__________




             Recipient’s relationship to debtor
             __________________________________________


 Part 5:        Certain Losses

 10. All losses from fire, theft, or other casualty within 1 year before filing this case.

     None
    ✔
             Description of the property lost and how the loss   Amount of payments received for the loss                    Date of loss         Value of property
             occurred                                            If you have received payments to cover the loss, for                             lost
                                                                 example, from insurance, government compensation, or
                                                                 tort liability, list the total received.
                                                                 List unpaid claims on Official Form 106A/B (Schedule A/B:
                                                                 Assets – Real and Personal Property).


                                                                 ___________________________________________                 _________________    $__________



Official Form 207                             Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                 page 4
           Case 9:24-bk-10035-RC                    Doc 1 Filed 01/12/24 Entered 01/12/24 09:59:51                                          Desc
                                                    Main Document Page 29 of 45
               Broad Oak Retail, Inc.
Debtor        _______________________________________________________                             Case number (if known)_____________________________________
              Name




 Part 6:     Certain Payments or Transfers

 11. Payments related to bankruptcy
     List any payments of money or other transfers of property made by the debtor or person acting on behalf of the debtor within 1 year before
     the filing of this case to another person or entity, including attorneys, that the debtor consulted about debt consolidation or restructuring,
     seeking bankruptcy relief, or filing a bankruptcy case.

      None
           Who was paid or who received the transfer?         If not money, describe any property transferred            Dates               Total amount or
                                                                                                                                             value

           Law Office of Sevan Gorginian
           __________________________________________         Debtor's funds
   11.1.                                                                                                                 12/19/2023
                                                                                                                         ______________      $_________
                                                                                                                                               5,000.00
           Address

           516 Burchett St., Suite 200
           Glendale, CA 91203




           Email or website address
           GorginianLaw.com
           _________________________________

           Who made the payment, if not debtor?


           __________________________________________


           Who was paid or who received the transfer?         If not money, describe any property transferred            Dates               Total amount or
                                                                                                                                             value


   11.2.   __________________________________________
                                                                                                                         ______________      $_________
           Address




           Email or website address


           __________________________________________


           Who made the payment, if not debtor?

           __________________________________________

 12. Self-settled trusts of which the debtor is a beneficiary
     List any payments or transfers of property made by the debtor or a person acting on behalf of the debtor within 10 years before the filing of this case to
     a self-settled trust or similar device.
     Do not include transfers already listed on this statement.

     
     ✔ None
           Name of trust or device                            Describe any property transferred                           Dates transfers    Total amount or
                                                                                                                          were made          value


           __________________________________________                                                                     ______________      $_________

           Trustee

           __________________________________________




Official Form 207                          Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                               page 5
           Case 9:24-bk-10035-RC                     Doc 1 Filed 01/12/24 Entered 01/12/24 09:59:51                                          Desc
                                                     Main Document Page 30 of 45
               Broad Oak Retail, Inc.
Debtor        _______________________________________________________                            Case number (if known)_____________________________________
              Name




 13. Transfers not already listed on this statement

     List any transfers of money or other propertyby sale, trade, or any other meansmade by the debtor or a person acting on behalf of the debtor
     within 2 years before the filing of this case to another person, other than property transferred in the ordinary course of business or financial affairs.
     Include both outright transfers and transfers made as security. Do not include gifts or transfers previously listed on this statement.


      None

           Who received transfer?                              Description of property transferred or payments received   Date transfer       Total amount or
                                                               or debts paid in exchange                                  was made            value


                                                               Sold and assigned 2x trademarks for $6k                    11/21/2023            6,000.00
   13.1.    Kingston Retail LLC
           __________________________________________          consideration ("ClothesPro" and
                                                                                                                          ________________     $_________
                                                               "MothPrevention")
           Address
           1320 Flynn Rd. Suite 320
           Camarillo, CA 93010




           Relationship to debtor

           None
           __________________________________________




           Who received transfer?                                                                                         ________________     $_________

   13.2.   __________________________________________

           Address




           Relationship to debtor

           __________________________________________



 Part 7:     Previous Locations

 14. Previous addresses
    List all previous addresses used by the debtor within 3 years before filing this case and the dates the addresses were used.

      Does not apply
     ✔
           Address                                                                                              Dates of occupancy


   14.1.                                                                                                       From       ____________       To   ____________




   14.2.                                                                                                       From       ____________       To   ____________




Official Form 207                          Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                page 6
           Case 9:24-bk-10035-RC                     Doc 1 Filed 01/12/24 Entered 01/12/24 09:59:51                                           Desc
                                                     Main Document Page 31 of 45
               Broad Oak Retail, Inc.
Debtor         _______________________________________________________                             Case number (if known)_____________________________________
               Name




 Part 8:       Health Care Bankruptcies

 15. Health Care bankruptcies
    Is the debtor primarily engaged in offering services and facilities for:
      diagnosing or treating injury, deformity, or disease, or
      providing any surgical, psychiatric, drug treatment, or obstetric care?

     
     ✔ No. Go to Part 9.
      Yes. Fill in the information below.
           Facility name and address                         Nature of the business operation, including type of services the            If debtor provides meals
                                                             debtor provides                                                             and housing, number of
                                                                                                                                         patients in debtor’s care

   15.1.   ________________________________________                                                                                      ____________________
           Facility name


                                                             Location where patient records are maintained (if different from facility
                                                             address). If electronic, identify any service provider.                     How are records kept?


                                                                                                                                         Check all that apply:

                                                                                                                                          Electronically
                                                                                                                                          Paper
                                                             Nature of the business operation, including type of services the            If debtor provides meals
           Facility name and address                         debtor provides                                                             and housing, number of
                                                                                                                                         patients in debtor’s care

   15.2.                                                                                                                                 ____________________
           ________________________________________
           Facility name


                                                             Location where patient records are maintained (if different from facility   How are records kept?
                                                             address). If electronic, identify any service provider.

                                                                                                                                         Check all that apply:
                                                                                                                                          Electronically
                                                                                                                                         Paper

 Part 9:       Personally Identifiable Information

 16. Does the debtor collect and retain personally identifiable information of customers?

     
     ✔ No.
      Yes. State the nature of the information collected and retained. ___________________________________________________________________
               Does the debtor have a privacy policy about that information?
             
              No
              Yes
 17. Within 6 years before filing this case, have any employees of the debtor been participants in any ERISA, 401(k), 403(b), or other
     pension or profit-sharing plan made available by the debtor as an employee benefit?

     
     ✔ No. Go to Part 10.
      Yes. Does the debtor serve as plan administrator?
             No. Go to Part 10.
             Yes. Fill in below:
                      Name of plan                                                                             Employer identification number of the plan

                      _______________________________________________________________________                  EIN: ___________________________________

                    Has the plan been terminated?
                     No
                     Yes

Official Form 207                          Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                   page 7
           Case 9:24-bk-10035-RC                      Doc 1 Filed 01/12/24 Entered 01/12/24 09:59:51                                          Desc
                                                      Main Document Page 32 of 45
Debtor        Broad Oak Retail, Inc.
              _______________________________________________________                             Case number (if known)_____________________________________
              Name




 Part 10:     Certain Financial Accounts, Safe Deposit Boxes, and Storage Units

 18. Closed financial accounts
     Within 1 year before filing this case, were any financial accounts or instruments held in the debtor’s name, or for the debtor’s benefit, closed, sold,
     moved, or transferred?
     Include checking, savings, money market, or other financial accounts; certificates of deposit; and shares in banks, credit unions,
     brokerage houses, cooperatives, associations, and other financial institutions.

     
     ✔ None

           Financial institution name and address          Last 4 digits of account        Type of account             Date account was        Last balance
                                                           number                                                      closed, sold, moved,    before closing or
                                                                                                                       or transferred          transfer

   18.1.   ______________________________________          XXXX–__________                 Checking                  ___________________      $__________
           Name
                                                                                            Savings
                                                                                            Money market
                                                                                            Brokerage
                                                                                            Other______________

   18.2.   ______________________________________          XXXX–__________                 Checking                  ___________________      $__________
           Name
                                                                                            Savings
                                                                                            Money market
                                                                                            Brokerage
                                                                                            Other______________

 19. Safe deposit boxes
     List any safe deposit box or other depository for securities, cash, or other valuables the debtor now has or did have within 1 year before filing this case.

     
     ✔ None
            Depository institution name and address        Names of anyone with access to it            Description of the contents                  Does debtor
                                                                                                                                                     still have it?

           ______________________________________                                                                                                     No
           Name                                                                                                                                       Yes


                                                           Address




20. Off-premises storage
    List any property kept in storage units or warehouses within 1 year before filing this case. Do not include facilities that are in a part of a building in
    which the debtor does business.

    
    ✔ None
            Facility name and address                      Names of anyone with access to it          Description of the contents                    Does debtor
                                                                                                                                                     still have it?
                                                                                                                                                       No
           ______________________________________
           Name
                                                                                                                                                       Yes



                                                            Address




Official Form 207                           Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                 page 8
           Case 9:24-bk-10035-RC                    Doc 1 Filed 01/12/24 Entered 01/12/24 09:59:51                                       Desc
                                                    Main Document Page 33 of 45
              Broad Oak Retail, Inc.
Debtor        _______________________________________________________                          Case number (if known)_____________________________________
              Name




 Part 11:     Property the Debtor Holds or Controls That the Debtor Does Not Own

 21. Property held for another
     List any property that the debtor holds or controls that another entity owns. Include any property borrowed from, being stored for, or held in
     trust. Do not list leased or rented property.

     
     ✔ None


          Owner’s name and address                       Location of the property                   Description of the property                    Value

                                                                                                                                                  $_________
          ______________________________________
          Name




 Part 12:     Details About Environmental Information

 For the purpose of Part 12, the following definitions apply:
  Environmental law means any statute or governmental regulation that concerns pollution, contamination, or hazardous material,
     regardless of the medium affected (air, land, water, or any other medium).
  Site means any location, facility, or property, including disposal sites, that the debtor now owns, operates, or utilizes or that the debtor
     formerly owned, operated, or utilized.
  Hazardous material means anything that an environmental law defines as hazardous or toxic, or describes as a pollutant, contaminant,
     or a similarly harmful substance.

 Report all notices, releases, and proceedings known, regardless of when they occurred.


 22. Has the debtor been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.


     
     ✔ No

      Yes. Provide details below.
          Case title                                 Court or agency name and address               Nature of the case                        Status of case

          _________________________________                                                                                                    Pending
                                                     _____________________________________
          Case number                                Name                                                                                      On appeal
          _________________________________                                                                                                    Concluded




 23. Has any governmental unit otherwise notified the debtor that the debtor may be liable or potentially liable under or in violation of an
     environmental law?

     
     ✔ No

      Yes. Provide details below.
         Site name and address                       Governmental unit name and address             Environmental law, if known              Date of notice


          __________________________________         _____________________________________                                                    __________
          Name                                       Name




Official Form 207                         Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                page 9
            Case 9:24-bk-10035-RC                   Doc 1 Filed 01/12/24 Entered 01/12/24 09:59:51                                        Desc
                                                    Main Document Page 34 of 45
               Broad Oak Retail, Inc.
Debtor         _______________________________________________________                       Case number (if known)_____________________________________
               Name




 24. Has the debtor notified any governmental unit of any release of hazardous material?
     
     ✔ No

      Yes. Provide details below.
           Site name and address                     Governmental unit name and address           Environmental law, if known                Date of notice


           __________________________________       ______________________________________                                                     __________
           Name                                     Name




 Part 13:         Details About the Debtor’s Business or Connections to Any Business


 25. Other businesses in which the debtor has or has had an interest
     List any business for which the debtor was an owner, partner, member, or otherwise a person in control within 6 years before filing this case.
     Include this information even if already listed in the Schedules.

     
     ✔ None



           Business name and address                 Describe the nature of the business                   Employer Identification number
                                                                                                           Do not include Social Security number or ITIN.

                                                                                                           EIN: ________________________
   25.1.   __________________________________
           Name                                                                                            Dates business existed



                                                                                                           From ___________              To ____________




           Business name and address                 Describe the nature of the business                   Employer Identification number
   25.2.                                                                                                   Do not include Social Security number or ITIN.

                                                                                                           EIN: ________________________
           __________________________________
           Name                                                                                            Dates business existed



                                                                                                           From ___________              To ____________




           Business name and address                 Describe the nature of the business                   Employer Identification number
                                                                                                           Do not include Social Security number or ITIN.

   25.3.                                                                                                   EIN: ________________________
           __________________________________
           Name
                                                                                                           Dates business existed




                                                                                                           From ___________              To ____________




Official Form 207                         Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                 page 10
             Case 9:24-bk-10035-RC                   Doc 1 Filed 01/12/24 Entered 01/12/24 09:59:51                                     Desc
                                                     Main Document Page 35 of 45
                   Broad Oak Retail, Inc.
Debtor            _______________________________________________________                      Case number (if known)_____________________________________
                  Name




 26. Books, records, and financial statements
     26a. List all accountants and bookkeepers who maintained the debtor’s books and records within 2 years before filing this case.

             None
              Name and address                                                                              Dates of service


              Mission Oaks Tax & Accounting                                                                 From 01/01/2022
                                                                                                                 _______
   26a.1.     __________________________________________________________________________________
              Name                                                                                             01/05/2024
              1320 Flynn Rd UNIT 302, Camarillo, CA 93012                                                   To _______




              Name and address                                                                              Dates of service

                                                                                                            From _______
   26a.2.     __________________________________________________________________________________
              Name
                                                                                                            To _______




     26b.   List all firms or individuals who have audited, compiled, or reviewed debtor’s books of account and records or prepared a financial
            statement within 2 years before filing this case.
            
            ✔ None


                   Name and address                                                                         Dates of service

                                                                                                            From _______
         26b.1.    ______________________________________________________________________________
                   Name
                                                                                                            To _______




                                                                                                            Dates of service
                   Name and address

                                                                                                            From _______
         26b.2.
                   ______________________________________________________________________________
                   Name                                                                                     To _______




     26c. List all firms or individuals who were in possession of the debtor’s books of account and records when this case is filed.
            
            ✔ None

                   Name and address                                                                         If any books of account and records are
                                                                                                            unavailable, explain why


         26c.1.    ______________________________________________________________________________
                   Name




Official Form 207                           Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                              page 11
               Case 9:24-bk-10035-RC                    Doc 1 Filed 01/12/24 Entered 01/12/24 09:59:51                                    Desc
                                                        Main Document Page 36 of 45
                    Broad Oak Retail, Inc.
Debtor              _______________________________________________________                     Case number (if known)_____________________________________
                    Name




                     Name and address                                                                        If any books of account and records are
                                                                                                             unavailable, explain why


           26c.2.    ______________________________________________________________________________
                     Name




     26d. List all financial institutions, creditors, and other parties, including mercantile and trade agencies, to whom the debtor issued a financial statement
          within 2 years before filing this case.

              
              ✔ None


                     Name and address


           26d.1.    ______________________________________________________________________________
                     Name




                     Name and address



           26d.2.    ______________________________________________________________________________
                     Name




 27. Inventories
     Have any inventories of the debtor’s property been taken within 2 years before filing this case?
     
     ✔ No

      Yes. Give the details about the two most recent inventories.


               Name of the person who supervised the taking of the inventory                    Date of       The dollar amount and basis (cost, market, or
                                                                                                inventory     other basis) of each inventory


              ______________________________________________________________________           _______       $___________________

               Name and address of the person who has possession of inventory records


   27.1.       ______________________________________________________________________
              Name




Official Form 207                              Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                           page 12
           Case 9:24-bk-10035-RC                      Doc 1 Filed 01/12/24 Entered 01/12/24 09:59:51                                       Desc
                                                      Main Document Page 37 of 45
              Broad Oak Retail, Inc.
Debtor        _______________________________________________________                          Case number (if known)_____________________________________
              Name




           Name of the person who supervised the taking of the inventory                      Date of          The dollar amount and basis (cost, market, or
                                                                                              inventory        other basis) of each inventory

           ______________________________________________________________________             _______         $___________________

           Name and address of the person who has possession of inventory records


   27.2.   ______________________________________________________________________
           Name




 28. List the debtor’s officers, directors, managing members, general partners, members in control, controlling shareholders, or other
     people in control of the debtor at the time of the filing of this case.
   Name                                     Address                                                  Position and nature of any interest      % of interest, if any
 Adam Denton-Smith                          1320 Flynn Road # 302, Camarillo, CA 93012               C.E.O. / Shareholder                    15


 Karol Laurie Caballero                     1320 Flynn Road # 302, Camarillo, CA 93012               President / Shareholder                 85




 29. Within 1 year before the filing of this case, did the debtor have officers, directors, managing members, general partners, members in
    control of the debtor, or shareholders in control of the debtor who no longer hold these positions?
    ✔ No

      Yes. Identify below.
   Name                                                                                                 Position and nature of any   Period during which position
                                               Address                                                  interest                     or interest was held


                                                                                                                                      _________ To _________


                                                                                                                                      _________ To _________


                                                                                                                                      _________ To _________


                                                                                                                                      _________ To _________

 30. Payments, distributions, or withdrawals credited or given to insiders
     Within 1 year before filing this case, did the debtor provide an insider with value in any form, including salary, other compensation, draws,
     bonuses, loans, credits on loans, stock redemptions, and options exercised?
     
     ✔ No

      Yes. Identify below.
                                                                                     Amount of money or description      Dates               Reason for providing
           Name and address of recipient                                             and value of property                                   the value

   30.1.   ______________________________________________________________             _________________________          _____________
           Name


                                                                                                                         _____________


                                                                                                                         _____________

           Relationship to debtor                                                                                        _____________

           ______________________________________________________________                                                _____________
Official Form 207                          Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                 page 13
Case 9:24-bk-10035-RC   Doc 1 Filed 01/12/24 Entered 01/12/24 09:59:51   Desc
                        Main Document Page 38 of 45
Case 9:24-bk-10035-RC   Doc 1 Filed 01/12/24 Entered 01/12/24 09:59:51   Desc
                        Main Document Page 39 of 45
Case 9:24-bk-10035-RC     Doc 1 Filed 01/12/24 Entered 01/12/24 09:59:51   Desc
                          Main Document Page 40 of 45

8fig, Inc.
11801 Domain Blvd., Third Floor
Austin, TX 78758


8fig, Inc.
1717 W 6th St., Suite 335
Austin, TX 78703


Alien Finance, LLC
Attn: Agent, Officer or CEO
5830 E 2nd Street Suite 7000
Casper, WY 82609


Amazon Capital Services
P.O. Box 84837
Seattle, WA 98124


Amazon Lending
410 Terry Ave N.
Seattle, WA 98109


Amazon Lending
Synchrony Bank / Amazon.com
PO Box 530598
Atlanta, GA 30353


Bank of America
P.O. Box 982238
El Paso, TX 79998


CBB Inc.
Attn: Agent, Officer or CEO
14442 Jewel Ave.
Flushing, NY 11367
Case 9:24-bk-10035-RC      Doc 1 Filed 01/12/24 Entered 01/12/24 09:59:51   Desc
                           Main Document Page 41 of 45

CDTFA
PO Box 942879
Sacramento, CA 94279


Corporation Service Company
801 Adlai Stevenson Dr.
Springfield, IL 62703


Davis Wright Tremaine LLP
Attn: Jailyn Bunton
920 Fifth Ave. Suite 3300
Seattle, WA 98104


First Corporate Solutions, Inc.
914 S Street


Franchise Tax Board
Bankruptcy Section MS A-340
P.O. Box 2952
Sacramento, CA 95812


Goldman Sachs Bank
P.O. Box 45400
Salt Lake City, UT 84145


I.R.S.
P.O. Box 7346
Philadelphia, PA 19101


Karol Laurie Caballero
1320 Flynn Road # 302
Calle
Camarillo, CA 93012
Case 9:24-bk-10035-RC   Doc 1 Filed 01/12/24 Entered 01/12/24 09:59:51   Desc
                        Main Document Page 42 of 45

Minnesota Revenue
Mail Station 6330
600 N. Robert St.
St.


Padfield & Stout, LLP
420 Throckmorton St., Ste. 1210
Fort Worth, TX 76102


Synchrony Bank
c/o PRA Receivables Management, LLC
PO Box 41021
Norfolk, VA 23541


Wayflyer
746 Willoughby Way NE #400
Atlanta, GA 30312


Wolters Kluwer Lien Solutions
P.O. Box 29071
Glendale, CA 91209
        Case
     B2030     9:24-bk-10035-RC
           (Form 2030) (12/15)                        Doc 1 Filed 01/12/24 Entered 01/12/24 09:59:51                                           Desc
                                                      Main Document Page 43 of 45

                                      United States Bankruptcy Court
                                                              Central District of California
                                               __________________________________
     In re Broad Oak Retail, Inc.
                                                                                                             Case No. _______________

    Debtor                                                                                                            7
                                                                                                              Chapter________________

                       DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR

    1. Pursuant to 11 U .S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that I am the attorney for the
       above named debtor(s) and that compensation paid to me within one year before the filing of the
       petition in bankruptcy, or agreed to be paid to me, for services rendered or to be rendered on behalf of
       the debtor(s) in contemplation of or in connection with the bankruptcy case is as follows:

✔   FLAT FEE
                                                                                                                         5,000.00
          For legal services, I have agreed to accept . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . $______________
                                                                                                                 5,000.00
          Prior to the filing of this statement I have received. . . . . . . . . . . . . . . . . . . . . . . . $______________
                                                                                                                                   0.00
          Balance Due. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . $______________

     RETAINER
          For legal services, I have agreed to accept a retainer of . . . . . . . . . . . . . . . . . . . . $______________

          The undersigned shall bill against the retainer at an hourly rate of . . . . . . . . . . . $______________
          [Or attach firm hourly rate schedule.] Debtor(s) have agreed to pay all Court
          approved fees and expenses exceeding the amount of the retainer.

    2. The source of the compensation paid to me was:
                 Debtor                                 Other (specify)

    3. The source of compensation to be paid to me is:
                 Debtor                                 Other (specify)

    4.         I have not agreed to share the above-disclosed compensation with any other person unless they
         are members and associates of my law firm.

              I have agreed to share the above-disclosed compensation with a other person or persons who
    are not members or associates of my law firm. A copy of the Agreement, together with a list of the names
    of the people sharing the compensation is attached.
    5. In return of the above-disclosed fee, I have agreed to render legal service for all aspects of the
       bankruptcy case, including:
         a. Analysis of the debtor’s financial situation, and rendering advice to the debtor in determining
            whether to file a petition in bankruptcy;
         b. Preparation and filing of any petition, schedules, statements of affairs and plan which may be
            required;
         c. Representation of the debtor at the meeting of creditors and confirmation hearing, and any
            adjourned hearings thereof;
   Case 9:24-bk-10035-RC                    Doc 1 Filed 01/12/24 Entered 01/12/24 09:59:51                                      Desc
 B2030 (Form 2030) (12/15)                  Main Document Page 44 of 45
      d. [Other provisions as needed]
Two consultations prior to filing the bankruptcy case, attorney present with client at the 341(a) meeting of creditors, review proof of claims and
advise accordingly, drafting all necessary petitions and schedules but not amendments, coordinate with trustee's and court's requirements, give
notice to creditors of relevant documents filed, and obtain the discharge order.




6. By agreement with the debtor(s), the above-disclosed fee does not include the following services:
all adversary proceedings within the bankruptcy case (i.e. 727 or 523 action), amendments to schedules, additional appearance at 341 meeting of
creditors, objections to claims, and other pertinent information disclosed in the retainer agreement between the debtor client and the firm.
Case 9:24-bk-10035-RC        Doc 1 Filed 01/12/24 Entered 01/12/24 09:59:51                      Desc
                             Main Document Page 45 of 45



                                           CERTIFICATION
      I certify that the foregoing is a complete statement of any agreement or arrangement for
          payment to me for representation of the debtor(s) in this bankruptcy proceeding.

       01/05/2024
     _____________________             _________________________________________
     Date                                  Signature of Attorney
                                        Law Office of Sevan Gorginian
                                       _________________________________________
                                            ​Name of law firm
                                        516 Burchett St.
                                        Suite 200
                                        Glendale, CA 91203
